                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                           CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                               No. CR11-0053-LRR
 vs.                                                           ORDER
 CALVIN WILLIAMS,
                Defendant.




         This matter comes before the court on the defendant’s motion to expedite process
(docket no. 94). The defendant filed such motion on April 16, 2015. The court already
took appropriate steps to reduce the defendant’s under 18 U.S.C. § 3582(c)(2) and USSG
§1B1.10. As the defendant correctly points out, those steps included but were not limited
to providing the Federal Bureau of Prisons with a copy of the court’s order. Because it
is clear from the defendant’s statements that the Federal Bureau of Prisons is processing
the defendant’s reduced sentence, no additional action by the court is necessary. Further,
placement decisions, including how much time, if any, a defendant should spend in a
community corrections facility, are best left to the discretion of the Federal Bureau of
Prisons. See generally 18 U.S.C. § 3621; 18 U.S.C. § 3624. The defendant must proceed
through the proper channels that are available within the Federal Bureau of Prisons.
Because there is nothing more that the court can do at this stage, the defendant’s motion




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to expedite process (docket no. 94) is denied.
      IT IS SO ORDERED.
      DATED this 27th day of May, 2015.




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